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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                        CAMDEN VICINAGE

  IN RE: VALSARTAN, LOSARTAN,                MDL No. 2875
  AND IRBESARTAN PRODUCTS
  LIABILITY LITIGATION                       Honorable Robert B. Kugler,
                                             District Court Judge

  This Document Relates to All Actions       Oral Argument Requested



   WHOLESALER DEFENDANTS’ MOTION FOR CLARIFICATION AND
     MODIFICATION OF SPECIAL MASTER ORDER NO. 64 AND
                MEMORANDUM IN SUPPORT
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        For the reasons set forth herein, Wholesaler Defendants AmerisourceBergen

  Corporation, Cardinal Health, Inc., and McKesson Corporation (“Wholesalers”)

  respectfully request that the Court issue an Order that clarifies that SMO 64: (1) only

  requires Wholesalers to timely supplement their prior discovery responses in accord

  with Rule 26(e), if necessary; (2) does not impose any new duty on Wholesalers to

  disclose information regarding indemnification and/or defense beyond that which

  was requested by Plaintiffs and approved by the Court in Plaintiffs’ prior discovery

  requests; and (3) to the extent that Plaintiffs seek any further indemnification and/or

  defense discovery beyond that provided by Wholesalers, such request is denied.

  I.    PROCEDURAL HISTORY
        Wholesalers, Manufacturers, and Retail Pharmacies have previously produced

  to Plaintiffs the Wholesaler Supply Agreements with Manufacturers and Retail

  Pharmacies that include duty to defend provisions. Now, through untimely letters

  and a Plaintiff-prepared and objectionable SMO 64, Plaintiffs purport to be entitled

  to more information than just the defense provisions themselves. However, none of

  the proper discovery requests previously negotiated by Plaintiffs and Wholesalers,

  approved by the Court, and ultimately served on Wholesalers prior to the close of

  discovery included any request that Wholesalers provide defense-related

  information, including, specifically, that:

            1) Wholesalers disclose whether an entity from which a Wholesaler
               purchased VCDs, or some other entity on its behalf, has undertaken that

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               Wholesaler’s defense or has agreed to defend that Wholesaler or
               reimburse it for costs of defense, and if so, the percentage of those costs
               to be reimbursed and the amounts reimbursed;

           2) Wholesalers disclose whether any Wholesalers have “disputes” with
              any Manufacturer with respect to defense;

           3) Wholesalers disclose whether they have initiated a formal claim or
              proceeding with respect to a dispute with a Manufacturer including any
              “public or private litigation, arbitrations, claims, or other proceedings,”
              and if so, identify the forum and status of the dispute;

           4) Wholesalers identify whether they have agreed to undertake the defense
              of a Retail Pharmacy Defendant and/or whether they have agreed to
              reimburse a Retail Pharmacy Defendant’s cost of defense, and if so, the
              amounts reimbursed;

           5) Wholesalers identify whether any Wholesalers have “disputes” with a
              Retail Pharmacy Defendant(s) with respect to defense;

           6) Wholesalers identify whether they have initiated a formal claim or
              proceeding with respect to a dispute with a Retail Pharmacy
              Defendant(s), including any “public or private litigation, arbitrations,
              claims, or other proceedings,” and if so, identify the forum and status
              of the dispute;

           7) By implication, communications between Wholesalers and
              Manufacturers and/or Retail Pharmacies and their counsel regarding the
              above.

  Dkt. 2007-1, Plaintiffs’ March 17, 2022 Letter to Seth Goldberg.1 Plaintiffs’ new

  requests are so broad that they may even be read to require production of

  communications regarding defense-related information; indeed, when Wholesalers


  1
    Collectively, these requests and the communications related thereto, as well as the
  defense-related items made the subject of the Plaintiff-drafted SMO 64 are referred
  to herein as the “Defense Information.”
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  attempted to confirm Plaintiffs did not seek such plainly privileged information,

  Plaintiffs refused to so confirm. See Email from George Williamson, Esq. to D’Lesli

  Davis, Esq. dated May 10, 2022, Ex. A (highlighting added).

        Plaintiffs first raised requests for the Defense Information with Wholesalers

  in correspondence on January 28, 2022, and March 17, 2022, months after the

  October 4, 2021 date for completion of discovery. Dkt. 2042-2, Plaintiffs’ January

  28, 2022 email to Jeff Geoppinger; Dkt. 2007-1, Plaintiffs’ March 17, 2022 Letter

  to Seth Goldberg. In sum, the untimeliness of the requests, the lack of relevance of

  the Defense Information to issues in the instant case, and the privileged nature of the

  Defense Information require that Wholesalers object to and seek clarification of

  SMO 64.

        Prior to Plaintiffs’ ad hoc request for the Defense Information, the discovery

  in this matter was heavily negotiated between the parties before being approved by

  the Court. Written discovery requests related to indemnification issues2 were served

  on Wholesalers in the MDL prior to the October 4, 2021 discovery cut-off,

  consisting of Plaintiffs’ Second Amended Set of Requests for Production of

  Documents to Wholesaler Defendants (Dkt. No. 509) and Plaintiffs’ Second Set of


  2
    Plaintiffs have acknowledged that Wholesalers have met their obligations under
  Plaintiffs’ interpretation of all discovery requests, timely or otherwise, and their
  interpretation of SMO 64, with regard to production and disclosure of
  indemnification—rather than defense—issues. See Email from George Williamson,
  Esq. to D’Lesli Davis, Esq. dated May 10, 2022, Ex. A.
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  Requests for Production of Documents to Wholesaler Defendants (Dkt. No. 1306).

  Request for Production No. 21 in Plaintiffs’ Second Amended Set of Requests for

  Production of Documents to Wholesaler Defendants specifically requested

  production of “final written indemnification agreements applicable to any claims

  currently pending in MDL 2875 against Wholesaler Defendants.” Dkt. No. 509.

  Additionally, Requests for Production Nos. 3 and 4 in Plaintiffs’ Second Set of

  Requests for Production of Documents to Wholesaler Defendants requested

  production of “Supply/Distribution Agreements relating to” Wholesalers’ purchases

  of VCDs from Manufacturers and Wholesalers’ sales of VCDs to Retail Pharmacies.

  Dkt. No. 1306.

        Each Wholesaler served written responses to both sets of Plaintiffs’ Rule 34

  Requests for Production, and Wholesalers, Manufacturers, and Retail Pharmacies

  collectively produced the responsive documents. Specifically, with respect to

  Plaintiffs’ Request for Production No. 21 regarding “final written indemnification

  agreements,” each Wholesaler produced responsive documents. Each Wholesaler

  and/or Retail Pharmacy also produced redacted copies of “Supply/Distribution

  Agreements” entered into with Manufacturer and Retail Pharmacy Defendants that

  were applicable to Wholesalers’ purchases and/or sales of VCDs during the relevant

  time period. Those “Supply/Distribution Agreements” contained provisions

  regarding indemnification and defense obligations between Wholesalers and

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  Manufacturers and/or Retail Pharmacy Defendants. And, those agreements included

  any relevant “duty to defend” provision.

        Plaintiffs also served each Wholesaler with a Rule 30(b)(6) Notice of

  Deposition. Dkt. Nos. 1548, 1574, and 1593. That Notice was also the product of

  negotiation between the parties, and it, too, was ultimately approved by the Court.

  Dkt. No. 1465. Topic 16 in the Rule 30(b)(6) Notice to each Wholesaler requested

  testimony about “[t]he existence and general status (whether resolved or still

  pending) of indemnification requests made by you or to you, to or from

  Manufacturer Defendants or Retail Pharmacy Defendants in this litigation.” Id. Each

  Wholesaler designated multiple individuals to appear for depositions to testify

  regarding all of the topics identified in Plaintiffs’ Rule 30(b)(6) Notices, including

  Topic 16. At no time did Plaintiffs take issue with any of the discovery provided by

  the Wholesalers, including their written discovery responses, document productions,

  or Rule 30(b)(6) witnesses’ testimony.

        Then, on January 28, 2022 and March 17, 2022, months after the October 4,

  2021 close of discovery in this matter (Dkt. No. 863), Plaintiffs for the first time

  informally requested additional discovery from Wholesalers about the particulars of

  their defense and indemnification arrangements in this litigation. Dkt. 2042-2; Dkt.

  2007-1. In particular, Plaintiffs’ counsel Mr. George Williamson sent a letter to

  Defendants’ then-liaison counsel, Mr. Seth Goldberg, dated March 17, 2022, seeking

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  information about the existence and status of agreements among and between

  Defendants regarding defense and indemnification issues. Dkt. 2007-1. While some

  of the information requested from Wholesalers in Plaintiffs’ March 17, 2022 letter

  had previously been provided in Wholesalers’ documents produced in responses to

  Plaintiffs’ Requests for Production and in the 30(b)(6) depositions, other information

  requested was not the subject of any prior discovery request to Wholesalers. For

  example, Plaintiffs’ March 17, 2022 letter for the first time requested that

  Wholesalers “disclose” whether any entity “has undertaken your defense [in this

  litigation] or reimbursed your costs of defense, and where reimbursements made,

  state the amount.” Id. None of those requests, as well as several other requests

  enumerated in Plaintiffs’ March 17, 2022 letter—for example, any disputes

  regarding defense and/or indemnification—were the subject of any prior discovery

  requests served on Wholesalers. Consequently, prior to Wholesalers’ receipt of

  Plaintiffs’ March 17, 2022 letter, they never had an opportunity to object to

  Plaintiffs’ new requests included in that letter—including on relevance and privilege

  grounds—because the requests had never before been made. Similarly, the Court

  was never given the opportunity to rule on the propriety of many of the types of

  requests in Plaintiffs’ March 17, 2022 letter or any objections by Wholesalers to the

  requests.




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        On April 12, 2022, Plaintiffs served their agenda letter for the April 13, 2022

  bi-weekly status conference with all liaison counsel. It included only one topic:

  “Status of Indemnification Meet and Confers.” Plaintiffs’ agenda letter specifically

  requested that the Court mandate “all defendants be required to meet and confer on

  the issues raised in Plaintiffs’ March 17, 2022 letter.” Dkt. No. 2006.

        On April 13, 2022, the Court held the routine bi-weekly status conference with

  liaison counsel for Plaintiffs and liaison counsel for Defendants—and, as is

  customary, with no other defense counsel in attendance. At the limited attendance

  status conference, Plaintiffs’ counsel asked the Court to set a deadline of April 30,

  2022 for all Defendants to meet and confer with Plaintiffs’ counsel about the

  discovery requests in the March 17, 2022, letter. See Transcript of April 13, 2022

  Status Conference, p. 4. The Court agreed to enter such an order over Defendants’

  objections, including that a simple requirement of a meet and confer did not warrant

  a full order. Id., pp. 5-9. Plaintiffs’ counsel was directed to submit a proposed order

  “reflecting the fact that the meet and confer on these agreements is to be completed.”

  Id., pp. 9-10.

        The next day, on April 14, 2022, Plaintiffs’ counsel submitted a letter and a

  proposed Special Master Order (“SMO”) that went much further than Plaintiffs’

  original agenda letter, much further than Plaintiffs’ argument at the status

  conference, and much further than their representations to the Court about the order

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  being submitted. Dkt. No. 2014. Plaintiffs’ counsel did not seek approval of

  Defendants’ counsel of the proposed SMO prior to submission, let alone share the

  proposed SMO with Defendants’ counsel prior to submission.

        Plaintiffs’ April 14, 2022 cover letter stated that the proposed SMO was

  submitted “as directed at the April 13, 2022 status hearing.” Dkt. No. 2014.

  However, it is undisputed that Plaintiffs’ proposed SMO went well beyond what was

  discussed, decided, and directed at the April 13, 2022, status conference. The

  proposed SMO first ordered a deadline of April 30, 2022, for the parties to meet and

  confer “regarding the existence and status of any agreements, written or oral, to

  defend and/or indemnify, and any dispute, litigation, mediation, or arbitration

  between Defendants, related to contaminated valsartan including the claims in this

  litigation.” This list included information not previously agreed to in discovery, and

  potentially included information about communications regarding defense and

  indemnification “disputes” and “status.” Id. Plaintiffs’ proposed SMO went even

  further, however, and also included a substantive mandate that turned an order to

  meet and confer into an order to potentially “disclose” substantive information,

  including possibly privileged information:

               Defendants shall disclose to Plaintiffs any change in the
               status quo of such agreements, disputes, litigation,
               mediation, or arbitration; new demands to defend or
               indemnify; establishment of any new agreements; or any
               new dispute, litigation, mediation, or arbitration, without
               the need for Plaintiffs to make any further request.” Id.
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        No such mandate to disclose information or produce materials was discussed,

  requested, or ruled upon at the April 13, 2022 status conference, which as noted, was

  not attended by all Defendants and their counsel. As such, Wholesalers were not

  provided with the requisite opportunity to address in any fashion the scope,

  propriety, and grounds for objection to the new and broad disclosures mandated by

  Plaintiffs’ proposed SMO.

        Fifty minutes after Plaintiffs’ counsel’s ex parte submission of the proposed

  SMO, Defendants’ counsel emailed the Court to note Defendants’ objection to the

  entry of the proposed SMO based on concerns about the scope. See Email from Jason

  Reefer, Esq. to Hon. Thomas Vanaskie (Ret.) dated April 14, 2022, Ex. B. The Court

  responded and acknowledged Defendants’ objections. See Email from Hon. Thomas

  Vanaskie (Ret.) to Jason Reefer, Esq. dated April 14, 2022, Ex. C. The Court

  confirmed that Plaintiffs’ proposed SMO, which included a new mandate for certain

  disclosures by all Defendants, went beyond that which was discussed—and

  therefore, beyond which was ruled on—at the status conference. Id. Nevertheless,

  the Court entered Plaintiffs’ proposed SMO, with just one modification regarding

  the filing of a status report. Dkt. No. 2015. However, the Court stated that its

  rationale for entering Plaintiffs’ proposed SMO—despite the fact it was submitted

  without consultation and exceeded what was discussed at the status conference—

  was the belief that “it is appropriate to impose a duty of supplementation as requested

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  by Plaintiffs” as parties have a duty to supplement prior discovery responses

  pursuant to Fed. R. Civ. P. 26(e). Id. (emphasis added). The Court’s explanation for

  entry of SMO 64 thus suggested that it intended the Order to only require that which

  the Rules already require: supplementation of prior information produced in

  discovery in response to proper discovery requests. The Court confirmed that

  intention at the May 11, 2022, status conference. See 5/11/22 Trans., p. 15:16-18.

        Now, despite the Court’s explicit confirmation that SMO 64 was only

  intended to require basic supplementation of past discovery responses, Plaintiffs

  want more. Plaintiffs now request that the Court order, via SMO 64, disclosure of

  information from Wholesalers regarding defense and indemnification issues that was

  never the subject of any discovery served on Wholesalers and for which Wholesalers

  have sound objections. See 5/11/22 Trans., pp. 5:6-7; 7:24-9:11; 14:7-11 (Plaintiffs’

  counsel’s repeated requests that the Court simply enforce SMO 64 as written to

  require disclosure of indemnification and Defense Information). In particular, to the

  extent Plaintiffs seek to enforce SMO 64’s requirement that “Defendants shall

  disclose to Plaintiffs any change in the status quo of such agreements, disputes,

  litigation, mediation, or arbitration; new demands to defend or indemnify;

  establishment of any new agreements; or any new dispute, litigation, mediation, or

  arbitration, without the need for Plaintiffs to make any further request,” that

  requirement encompasses several matters that are not subject to supplementation

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  under Fed. R. Civ. P. 26(e) because there were no prior discovery requests to

  Wholesalers about those matters.3

        Therefore, for the reasons that follow, Wholesalers request that the Court issue

  an Order to clarify that SMO 64 requires only that Wholesalers timely supplement

  their prior discovery responses in accord with Rule 26(e), if necessary, and does not

  impose any new duty on Wholesalers to provide information regarding production

  or disclosure of Defense Information or indemnification information beyond that

  which was timely requested by Plaintiffs and approved by the Court in Plaintiffs’

  prior discovery requests.

  II.   ARGUMENT

        A.     Neither Rule 26(e) Nor SMO 64 Requires Wholesalers to
               Supplement      Their    Discovery    Responses     Regarding
               Indemnification and/or Defense Information Beyond That Which
               Was Properly Requested During the Discovery Phase of the MDL.
        As described above, Plaintiffs’ written discovery served on Wholesalers prior

  to the October 4, 2021 deadline for discovery consisted of two sets of Requests for

  Production containing a total of 29 Requests. Among those 29 Requests, one

  requested production of “final written indemnification agreements” and two


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    The following have never been the subject of a properly-served discovery request
  to Wholesalers, are not relevant to the claims in the litigation, and are protected by
  privilege: information about existence of defense agreements, communications
  regarding defense and/or indemnification agreements, and dollar amounts and
  percentages of reimbursed defense costs and payments Wholesalers have received
  or paid as a result of indemnification obligations.
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  requested production of “Supply/Distribution Agreements” that contained

  provisions regarding indemnification. Plaintiffs’ Rule 30(b)(6) Notice also sought

  testimony from a representative of each Wholesaler on the issue of “[t]he existence

  and general status (whether resolved or still pending) of indemnification requests

  made by you or to you, to or from Manufacturer Defendants or Retail Pharmacy

  Defendants in this litigation.” That is the entire scope of prior discovery to

  Wholesalers regarding indemnification issues. Wholesalers responded to all of those

  requests, and Plaintiffs raised no objections to those responses.

        There also is no dispute that the Court entered SMO 64 with the intention that

  it only required Wholesalers to supplement prior discovery responses pursuant to

  Rule 26(e). SMO 64 was not intended to broaden the discovery to Wholesalers on

  any issue, including issues regarding defense and indemnification agreements. And

  the language of Rule 26(e)(1) is clear:

               A party who has made a disclosure under Rule 26(a) – or
               who has responded to an interrogatory, request for
               production, or request for admission – must supplement or
               correct its disclosure or response: (A) in a timely manner
               if the party learns that in some material respect the
               disclosure or response is incomplete or incorrect, and if the
               additional or corrective information has not otherwise
               been made known to the other parties during the discovery
               process or in writing; or (B) as ordered by the court.

        Plaintiffs’ Defense Information requests were first made well after the close

  of discovery via an email and a letter. Plaintiffs did not make those requests in any


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  Rule 33 Interrogatory or Rule 34 Request for Production served on Wholesalers in

  the MDL. Further, none of the new requests seek information that is required to be

  included in a Rule 26(a)(1) initial disclosure. Therefore, Plaintiffs are not entitled to

  Rule 26(e) supplementation regarding the information sought by the new requests,

  as the new requests were never the subject of prior discovery served on Wholesalers.

        Finally, while deposition testimony provided by Wholesalers’ representatives

  in response to Plaintiffs’ Rule 30(b)(6) Notices of Deposition is not subject to

  supplementation under Rule 26(e), in an effort to resolve Plaintiffs’ requests through

  the meet and confer process, Wholesalers informally supplemented the information

  previously provided in deposition regarding the existence and general status

  (whether resolved or still pending) of indemnification requests made by and to

  Wholesalers. That updated information was provided to Plaintiffs’ counsel George

  Williamson via phone conferences with counsel for the individual Wholesalers on

  May 3, 2022 (AmerisourceBergen) and May 9, 2022 (Cardinal Health and

  McKesson). Pursuant to those conversations and follow-up correspondence from

  Mr. Williamson (Ex. A), as well as Plaintiffs’ letter filed with the Court on May 10,

  2022 regarding the status of meet and confers on Plaintiffs’ inquiries regarding

  indemnification (Dkt. No. 2055), it is Wholesalers’ understanding that Plaintiffs now

  have received all of the updated information on indemnification issues that they were




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  seeking from Wholesalers, and no issues remain between the parties regarding

  Plaintiffs’ requests for information about indemnification agreements.

        At bottom, Rule 26(e) cannot impose a duty on Wholesalers to supplement

  discovery that was never served. To the extent Plaintiffs rely upon SMO 64 to

  attempt to require Wholesalers to provide information about defense and/or

  indemnification agreements that was not the subject of a prior discovery request to

  Wholesalers, the Court should clarify that SMO 64 does not require such disclosures,

  and only requires supplementation of prior discovery responses, if necessary, in

  accordance with Rule 26(e).

        B.     The Defense Information Is Not Discoverable In Any Event
               Because It Is Not Relevant to the Litigation.

               1.      The Defense Information is not relevant to Plaintiffs’ claims.
        Even if Plaintiffs had requested the Defense Information prior to the close of

  discovery on October 4, 2021, that information would not have been discoverable

  (and remains non-discoverable) because it is not relevant to any of Plaintiffs’ claims.

  The scope of discovery is measured against the complaint and its claims. See

  Castellani v. City of Atl. City, 2015 WL 1578990, at *2 (D.N.J. Apr. 9, 2015).

  “Although the scope of discovery under the Federal Rules is unquestionably broad,

  this right is not unlimited and may be circumscribed.” Bayer AG v. Betachem, Inc.,

  173 F.3d 188, 191 (3d Cir. 1999). Specifically, Federal Rule of Civil Procedure

  26(b)(1) provides:

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               Parties may obtain discovery regarding any nonprivileged
               matter that is relevant to any party’s claim or defense
               and proportional to the needs of the case . . . . .
               Information within this scope of discovery need not be
               admissible in evidence to be discoverable.

  (emphasis added). Relevant evidence is “evidence having any tendency to make the

  existence of any fact that is of consequence to the determination of the action more

  probable or less probable than it would be without the evidence.” Fed. R. Evid. 401.

  “When a party objects to discovery requests, the burden falls on the party seeking

  the discovery to show the relevance of the information requested.” Invensas Corp.

  v. Renesas Elecs. Corp., 2013 WL 12146531, at *2 (D. Del. May 8, 2013).

        It is indisputable that the Defense Information Plaintiffs now seek is not

  relevant to any of Plaintiffs’ claims in this litigation. Plaintiffs’ counsel has

  repeatedly admitted as much and concedes the true purpose of these belated requests

  is for the purpose of enhancing Plaintiffs’ settlement discussions. In Plaintiffs’

  counsel’s letter of March 17, 2022, to Defendants’ liaison counsel, Mr. Williamson

  clearly stated:

               As discussed at the February 2, 2022, Case Management
               Conference, Plaintiffs lack material information regarding
               Defendants’ defense and indemnity agreements and
               obligations, including what if any payments have been
               made, and whether there are any ongoing disputes.
               Plaintiffs require this information to engage in the
               fulsome settlement negotiations contemplated by the
               Court.



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  (emphasis added). At the April 13, 2022, status conference, Plaintiffs’ counsel Mr.

  Slater reiterated that the information requested in Plaintiffs’ March 17, 2022, letter

  was “critical for [Plaintiffs] to understand as [they] embark on the resolution

  process.” See 4/13/22 Trans., p. 6:4-5. Further, at the May 11, 2022, status

  conference, Plaintiffs’ counsel Mr. Slater again advised the Court that Plaintiffs are

  seeking the Defense Information “so [Plaintiffs] would know entering into this

  settlement negotiation phase . . . what the relationships are as between the various

  defendants as we enter into these negotiations.” See 5/11/22 Trans., p. 8:4-8.

        There is no mystery about why Plaintiffs are requesting Wholesalers disclose

  the Defense Information. Plaintiffs want this information for the purposes of

  conducting settlement negotiations, and for no other reason. They are not requesting

  information because it tends to make the existence of any fact that is of consequence

  to the determination of any claim against Wholesalers more or less probable.

  Therefore, information about the existence of and/or details regarding defense

  agreements, if any, is irrelevant on its face. The information has nothing to do with

  any claim made by Plaintiffs against Wholesalers. Plaintiffs’ request that the Court

  require Wholesalers to disclose this information for settlement negotiation purposes

  should be denied. See, e.g., In re Zicam Cold Remedy Mktg., Sales Pracs., & Prod.

  Liab. Litig., 2010 WL 4715951, at *1 (D. Ariz. Nov. 15, 2010) (Plaintiffs’ claim that

  they needed disclosure of defendant’s indemnification agreement to fully understand

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  defendants’ settlement position did not make that agreement relevant and

  discoverable).

               2.    The Defense Information is not discoverable, as Judge
                     Schneider denied similar requests for Plaintiffs’ litigation
                     funding information as irrelevant.
         Further, Wholesalers note that the Court is not writing on a blank slate with

  respect to this issue. On September 18, 2019, Judge Schneider issued an Opinion

  and Order in this case addressing Defendants’ request for discovery of “Plaintiffs’

  agreements and communications with any third-party funders of the litigation . . .”

  See In Re Valsartan N-Nitrosodimethylamine (NDMA) Contamination Products

  Liab. Litig., 405 F. Supp.3d 612, 614 (D.N.J. 2019). The Court found that the

  information requested by Defendants regarding Plaintiffs’ litigation funding was

  irrelevant to the claims and defenses in the case, and therefore not discoverable. Id.

  at 615. Judge Schneider determined that “Plaintiffs’ litigation funding is a ‘side

  issue’ that has nothing to do with addressing the key issues in the case . . .” Id. at

  616.

         If the existence of and details regarding Plaintiffs’ agreements and

  communications with third-party funders of this litigation is irrelevant and not

  discoverable, then the same is true with respect to Wholesalers’ Defense

  Information, if any. The existence of any such defense agreements, their details,

  and/or communications about those agreements are equally irrelevant to Plaintiffs’


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  claims and have nothing to do with addressing the key issues in the case. Therefore,

  Plaintiffs’ extra-judicial requests for this information should be denied on relevance

  grounds.

               3.     The limits of litigation funding discovery are articulated in
                      Local Rule 7.1.1 and demonstrate that the Defense
                      Information is not relevant.
        Finally, Wholesalers note that on June 21, 2021, this Court enacted Local Rule

  7.1.1. That Rule requires a party that receives litigation funding from a third-party

  on a non-recourse basis in return for a financial interest in the litigation to file a

  statement with the Court that makes certain disclosures about the funder, the party’s

  relationship with the funder, and the nature of the funder’s financial interest in the

  litigation. While Local Rule 7.1.1 is not applicable to any arrangements between

  Defendants (all of whom are parties) regarding agreements to indemnify or to

  defend, the scope of the rule is instructive in this instance. Local Rule 7.1.1 does not

  require the level of detailed information, including about communications, disputes,

  and amounts paid, that Plaintiffs now seek from Wholesalers concerning their

  defense agreements with Manufacturers and/or Retail Pharmacies, if any. As such,

  it is incongruent to permit Plaintiffs to seek more extensive information about

  Wholesalers’ defense agreements than Plaintiffs are required to provide about their

  own third-party litigation funders per Local Rule 7.1.1.




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        C.     The Defense Information and/or Other Indemnification
               Information is Not Discoverable as it is Protected By the Common
               Interest Doctrine and Other Privilege.
        At present, SMO 64 requires Wholesalers to meet and confer with Plaintiffs

  about the “existence and status of any agreements, both written and oral, to defend

  and/or indemnify” and then subsequently requires Wholesalers to “disclose to

  Plaintiffs,” among other things, “changes in the status quo of such agreements,”

  “new demands to defend or indemnify,” or “establishment of any new agreements .

  . . without the need for Plaintiffs to make any further request.” While Plaintiffs admit

  that Wholesalers have fulfilled even their interpretation of the discovery requests

  and SMO 64 as to indemnification (but not defense)4, and SMO 64 does not directly

  require production of communications about agreements to indemnify or defend,

  Plaintiffs’ extra-judicial discovery requests coupled with Plaintiffs’ broad

  interpretation of the language of SMO 64 could be read to include disclosure of the

  following information (all of which has no relevance to the litigation as described

  supra): (1) communications between defendants and their own counsel regarding

  defense, which is clearly subject to the attorney-client and/or work product

  privileges (see Westinghouse Elec. Corp. v. Republic of Philippines, 951 F.2d 1414,

  1423-24, 1428 (3rd Cir. 1991)); (2) documents prepared in anticipation of litigation



  4
   See Email from George Williamson, Esq. to D’Lesli Davis, Esq. dated May 10,
  2022, Ex. A.
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  or for trial, which are clearly protected by Fed. R. Civ. P. 26(b)(3)(A); (3)

  defendants’ attorneys’ or other representatives’ mental impressions, conclusions,

  opinions, or legal theories, which are clearly protected by Fed. R. Civ. P.

  26(b)(3)(B); and (4) communications between co-defendants and/or co-defendants’

  counsel regarding indemnification and defense agreements, all of which are subject

  to the protection of the common interest doctrine.

        In re Teleglobe Commc’ns Corp., 493 F.3d 345 (3d Cir. 2007), is the leading

  Third Circuit case on the common interest doctrine. The doctrine allows “attorneys

  representing different clients with similar legal interests to share information without

  having to disclose it to others.” Id. at 364. If applicable, the doctrine protects

  communications “made between attorneys when all members of the community

  share a common legal interest’ in the shared communication.” Id. The doctrine

  “enables counsel for clients facing a common litigation opponent to exchange

  privileged communications and attorney work product in order to adequately prepare

  a defense without waiving either privilege.” As noted by the Restatement (Third) of

  the Law Governing Lawyers, § 76(1), cited with approval in Teleglobe, “[i]f two or

  more clients with a common interest in a litigated or non-litigated matter are

  represented by separate lawyers and they agree to exchange information concerning

  the matter, a communication of any such client ... is privileged as against third

  persons.” Teleglobe, 493 F.3d at 366. The common-interest doctrine is not an

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  independent privilege, but rather, an exception to the general rule that disclosure of

  a privileged communication to a third-party waives the privilege. See, e.g.,

  Cavallaro v. United States, 284 F.3d 236, 250 (1st Cir. 2002).

        Communications regarding indemnification and defense fall squarely within

  the common interest doctrine. See Fed. R. Civ. P. 26(b)(3); Am. Eagle Outfitters,

  Inc. v. Payless ShoeSource, Inc., 2009 WL 3786210 at *3-5 (E.D.N.Y. Nov. 12,

  2009) (communications relating to the scope of the indemnification provision, even

  when interests diverge, are protected under the common interest rule and the work

  product doctrine); Adkisson v. Jacobs Eng'g Grp., Inc., 2021 WL 149841 at *9-10

  (E.D. Tenn. Jan. 15, 2021) (communications between the non-party indemnitor and

  the defendant indemnitee were subject to the common interest privilege and should

  not be produced); In re Skiles, 102 S.W.3d 323, 324, 326-27 (Tex. App. 2003)

  (where insureds were sued and insurer denied coverage, causing insureds to sue

  insurer for coverage and defense, insureds’ counsels’ communications with insurer

  were privileged).

        For example, in Keybank Nat’l Ass’n v. Williams, 2022 WL 278516 at *1 (D.

  Colo. Jan. 31, 2022), KeyBank sought “joint defense, indemnification and common

  interest agreements entered into . . . between Defendants and [co-defendant]

  Newmark,” as well as “communications between Defendants (or their legal counsel)

  and Newmark.” Defendants objected on the ground that such communications were

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  protected by the common interest rule and the Magistrate agreed. Id. On KeyBank’s

  appeal, the district court entered an order upholding the Magistrate Judge’s rulings

  in their entirety. Id. at *3-4.

         Here, all Defendants, including the three Wholesalers, are all represented by

  different attorneys. There is no debate that Defendants in this MDL are facing

  common litigation opponents and all Defendants share a similar legal interest in the

  outcome of this litigation. Therefore, communications exchanged among counsel for

  Defendants in the course of preparing and executing a defense, including those

  related to the funding of the attorneys’ fees and costs of the litigation, which

  necessarily contain privileged information or attorney work product, are protected

  from disclosure by the common interest doctrine as set forth in Teleglobe. To the

  extent Plaintiffs attempt to obtain production of those communications or disclosure

  of the contents of those communications, in any form, Plaintiffs’ requests must be

  denied.

  III.   CONCLUSION
         For all of the reasons stated above, Wholesalers respectfully request that the

  Court issue an Order that clarifies that SMO 64: (1) only requires Wholesalers to

  timely supplement their prior discovery responses in accord with Rule 26(e), if

  necessary; (2) does not impose any new duty on Wholesalers to disclose information

  regarding indemnification and/or Defense Information beyond that which was


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  requested by Plaintiffs and approved by the Court in Plaintiffs’ prior discovery

  requests; and (3) to the extent that Plaintiffs seek any further indemnification and/or

  Defense Information beyond that provided by Wholesalers, such request is denied.




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   Dated: May 23, 2022             Respectfully submitted,

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                          CERTIFICATE OF SERVICE
        I hereby certify that on May 23, 2022, a copy of the foregoing document was

  served on all counsel of record via CM/ECF.



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